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 9                               IN THE UNITED STATES DISTRICT COURT
10                       IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                 )
12
                                               )                  Case No.: 2:14-CR-00245-KJM-2
13                     Plaintiff,              )
                                               )
14                 v.                          )                  STIPULATION AND [PROPOSED]
                                               )                  ORDER TO ALLOW
15
     IRMA SILVA NUNEZ,                         )                  DEFENDANT’S TRAVEL TO
16                                             )                  THE STATE OF WASHINGTON
                       Defendant.              )
17                                             )                  Court: Hon. Deborah Barnes
     __________________________________________)
18

19             Defendant, Irma Silva Nunez, through her counsel of record, Michael M. Rooney and

20   Odeh E. Hijazeen, and Plaintiff United States of America, through its respective counsel,
21
     stipulate and agree that defendant Irma Silva Nunez be allowed to travel to and temporarily
22
     reside in the State and Western District of Washington to provide both emotional and physical
23

24
     support for: (1) her grandson, Daniel Alvarez, who is currently diagnosed with a brain tumor,

25   medulloblastoma, and hospitalized receiving life-extending treatment; and (2) her grandson’s
26   family.
27
               Ms. Irma Silva Nunez informed the United States of America of her desire to travel to the
28
     State of Washington as soon as possible.
                                                1
          STIPULATION AND [PROPOSED] ORDER TO ALLOW DEFENDANT’S TRAVEL TO THE STATE OF
                                           WASHINGTON
              Case 2:14-cr-00245-KJM Document 129 Filed 03/20/17 Page 2 of 3


 1          The parties stipulate that Ms. Irma Silva Nunez be allowed to travel to the State of
 2
     Washington forthwith for thirty days through April 17, 2017, which period of travel may be
 3
     extended in the future by further stipulation and order of the Court, if necessary. Additionally,
 4

 5   the parties stipulate that the Court direct Pretrial Services in this District request courtesy

 6   supervision of Ms. Irma Silva Nunez while she is in the State and Western District of
 7
     Washington until her return to the State of California at which time pretrial supervision shall
 8
     resume in this District.
 9

10                                                      /s/ Odeh Hijazeen
     Dated: March 17, 2017                           _______________________________________
11
                                                     ODEH E. HIJAZEEN
12                                                   Attorney for Defendant, Irma Silva Nunez

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14
                                                        /s/ OEH for Samuel Wong
15   Dated: March 17, 2017                           _______________________________________
                                                     SAMUEL WONG
16                                                   Assistant United States Attorney
                                                     Attorney for Plaintiff, United States of America
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           STIPULATION AND [PROPOSED] ORDER TO ALLOW DEFENDANT’S TRAVEL TO THE STATE OF
                                            WASHINGTON
              Case 2:14-cr-00245-KJM Document 129 Filed 03/20/17 Page 3 of 3


 1

 2
                                                    ORDER
 3
           The Court, having received and considered the parties’ stipulation, and good cause
 4
     appearing therefore, adopts the parties’ stipulation in its entirety as its order.
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 6
     Dated: March 20, 2017
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           STIPULATION AND [PROPOSED] ORDER TO ALLOW DEFENDANT’S TRAVEL TO THE STATE OF
                                            WASHINGTON
